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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
 In re:                                           :      Chapter 11
                                                  :
 VICTOR H. MAIA,                                  :      Case No. 18-16907-AMC
                                                  :
                          Debtor.                 :
                                                  :

  ORDER APPROVING FIRST AND FINAL APPLICATION FOR COMPENSATION
     AND REIMBURSEMENT OF EXPENSES OF OBERMAYER REBMANN
   MAXWELL & HIPPEL LLP, COUNSEL TO THE DEBTOR FOR THE PERIOD
            OCTOBER 17, 2018 THROUGH SEPTEMBER 15, 2021

          AND NOW, this          day of                , 2021, upon consideration of the First and

Final Application for Compensation and Reimbursement of Expenses of Obermayer Rebmann

Maxwell & Hippel LLP, Counsel to the Debtor for the Period October 17, 2018 Through

September 15, 2021 (the “Application”), it is hereby

          ORDERED that the Application is APPROVED; and it is further

          ORDERED that pursuant to 11 U.S.C. § 330 and Federal Rule of Bankruptcy Procedure

2016, the Debtor is authorized and directed to pay Obermayer Rebmann Maxwell & Hippel LLP

the amount of $128,516.65 for services rendered as counsel for the Debtor plus $8,105.85 for the

reimbursement of expenses (totaling $136,622.50) for the period October 17, 2018 through

September 15, 2021; and it is further

          ORDERED that Obermayer Rebmann Maxwell & Hippel LLP’s fees and expenses in the

amount of $136,622.50 for the period October 17, 2018 through September 15, 2021 are approved

on a final basis; and it is further




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        ORDERED that this Court shall retain jurisdiction over any and all matters arising from or

relating to the interpretation or implementation of this order



                                              BY THE COURT:



                                              The Honorable Ashely M. Chan
                                              United States Bankruptcy Judge




OMC\4852-6365-3118.v1-11/1/21
